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UNITED STATES DISTRICT COURT F f L = D
NORTHERN DISTRICT OF CALIFORNIA AUG 9 9 2023
CLERK, U.S. —
RK, U.S. DISTRICT CO
Dear __J. Lewis NORTH DISTRICT OF SiFORAA
Your action has been filed as civil case number: 23-4395 LB

The fee for filing any civil action other than a petition for a writ of habeas corpus is $402 ($350 filing fee
plus $52 administrative fee), to be paid at the time of filing. If you are unable to pay the full fee at this
time, you may petition the court to proceed in forma pauperis by signing and completing this court’s
Prisoner’s Application and Declaration to Proceed In Forma Pauperis. Even if you are granted leave to
proceed in forma pauperis, you must still pay the $350 filing fee (not the $52 administrative fee), but the
filing fee will be taken out of your prisoner account in installments.

Your civil action is deficient because you did not pay the $402 fee and:

1. & You did not file an in forma pauperis application.

2. O The in forma pauperis application you submitted is insufficient because:

O You did not submit the proper form.
You did not complete the form in its entirety.

You did not sign your application.

OOO

You did not submit a Certificate of Funds in Prisoner’s Account completed and
signed by an authorized officer at your correctional facility.

O You did not submit a copy of your prisoner trust account statement showing
transactions for the last six months.

O Other

Please correct the deficiency or deficiencies noted above.

XI A blank Prisoner’s Application and Declaration to Proceed In Forma Pauperis is enclosed.

O A copy of your incomplete or unsigned application is enclosed or attached.

& A postage-paid return envelope is enclosed.

O Your facility participates in our Prison Email Filing Program, which requires case-opening documents

in civil rights actions to be filed by email. Please present your completed in forma pauperis application
to designated staff at your facility to be scanned and emailed to the court.

WARNING: You Must Respond to this Notice.

If you do not respond within 28 DAYS from the filing date stamped above, your action will be
DISMISSED, the file closed and the fee will become due immediately. Filing a Prisoner’s Application and
Declaration to Proceed Jn Forma Pauperis will allow the court to determine whether installment payment
of the filing fee should be allowed.

Sincerely,
MARK B. BUSBY, Clerk,

By. F72— , Deputy Clerk

Mark Romyn

Revised 4/6/2023
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

INSTRUCTIONS FOR FILING AN APPLICATION TO PROCEED
IN FORMA PAUPERIS BY A PRISONER UNDER 28 U.S.C. § 1915

You must submit to the court a completed Prisoner’s Application to Proceed In Forma Pauperis if
you are unable to pay the entire filing fee at the time you file your complaint or petition. The court will
consider as part of your application the transactions in your prison trust account statement for the last six
months. If you are housed at a California Department of Corrections and Rehabilitation (CDCR) facility,
the court’s application form includes your authorization for CDCR to provide a certified copy of your
trust account statement directly to the court. But if you are housed at a non-CDCR facility (such as a local
jail), you must have your institution complete the certification at the end of the application form and
attach a certified copy of your trust account statement.

A. Civil Actions other than Habeas Actions

The fee for filing any civil action other than a petition for a writ of habeas corpus is $402
($350 filing fee plus a $52 administrative fee). If you are not granted leave to proceed in forma pauperis,
you must pay the $402 fee in one payment.

If you are granted leave to proceed in forma pauperis, you must still pay the $350 filing fee (not
the $52 administrative fee), but the filing fee will be paid in several installments. You must pay an initial
partial filing fee of 20 percent of the greater of (a) the average monthly deposits to your account for the 6-
month period immediately before the complaint was filed or (b) the average monthly balance in your
account for the six-month period immediately before the complaint was filed. The court will use the
information provided on your trust account statement to determine the filing fee immediately due and will
send instructions to you and the prison trust account office for payment.

After the initial partial filing fee is paid, your prison’s trust account office will forward to the court -
each month 20 percent of the most recent month’s income to your prison trust account, to the extent the
account balance exceeds ten dollars ($10). Monthly payments will be required until the full filing fee is
paid. If you have no funds over ten dollars ($10) in your account, you will not be required to pay part of
the filing fee that month.

If your application to proceed in forma pauperis is granted, you will be liable for the full $350
filing fee even if your civil action is dismissed. That means the court will continue to collect payments
until the entire filing fee is paid.

B. Habeas Actions

The fee for filing a petition for a writ of habeas corpus is $5 ($5 filing fee plus $0 administrative
fee). If you are granted leave to proceed in forma pauperis, you will not be required to pay any portion
of this fee. If you are not granted leave to proceed in forma pauperis, you must pay the fee in one
payment and not in installments.

Ifyou use a habeas form to file a civil action other than a habeas action, you will be required to
pay the fee applicable to civil actions other than habeas actions.

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

CASE NUMBER

PRISONER’S APPLICATION AND

Plaintit, DECLARATION TO PROCEED
V. IN FORMA PAUPERIS
Defendant(s).
I, (print your name) , declare under penalty of perjury

that I am the plaintiff in this case; I believe I am entitled to relief; and I am unable to pay the costs of this
proceeding or give security thereof.

In support of this application, I provide true, correct and complete answers to all of the following questions:

1. Are you presently employed in prison? O Yes LJ No

The number of hours you work per week: The hourly rate of pay:

2. For the past twelve months, list the amount of money you have received from any of the following
sources.

Business, profession or self-employment

Income from rent, interest or dividends

Pensions, annuities or life insurance payments

Disability, Social Security or other government source
Gifts or inheritances

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Describe any other source of income:

3. List the amount for each of the following (include prison account funds):

Cash Checking _ Savings
on hand account account

4. Do you own or have any interest in any real estate, stocks, bonds, notes, retirement plans, automobiles,
or other valuable property (excluding ordinary household furnishings and clothing)?

If Yes, describe the property and state its approximate value:

C1 Yes

OONo

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

5. Do you have any other assets?

If Yes, list the asset(s) and the approximate value:
O Yes

Ol No

6. Does anyone depend upon you for financial support?

If Yes, state their relationship to you, and indicate how much you contribute towards their support.each
month. Use initials (not names) to refer to minor children.
O Yes

O No

This form must be dated and signed below for the court to consider your application.

I hereby authorize the institution having custody of me to provide a certified copy of my trust
account statement for activity covering the last six months to the court. Additionally, once eligibility is
established, I further authorize the institution having custody of me to collect from my trust account and
forward to the court payments in accordance with 28 U.S.C. § 1915(b)(2).

Signature of Plaintiff/Petitioner Inmate Number Date

EE TE SIG Ea A

CERTIFICATION FOR PRISONERS NOT IN CDCR CUSTODY
CERTIFICATE OF FUNDS IN PRISONER’S ACCOUNT
(to be completed by authorized officer)
I certify that attached hereto is a true and correct copy of the prisoner’s trust account statement showing the

. transactions of for the last six months at
PRISONER'S NAME

, where (s)he is confined.

NAME OF NON-COCR INSTITUTION

Signature of Authorized Officer Officer’s Name (printed) Date

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